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                                    0. 13-4544




                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE THIRD CIRCUIT


                               DAYID RAWDIN,

                                            Plaintiff-Appellant

                                       V.

                     AMERICAN BOARD OF PEDIATRICS ,

                                            Defendant-Appellee


          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


            BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                      SUPPORTING NEITHER PARTY


                                            JOCELYN SAMUELS
                                             Acting Assistant Attorney General

                                            MARK L. GROSS
                                            TERESA KWONG
                                             Attorneys
                                             U.S. Department of Justice
                                             Civil Rights Division
                                             Appellate Section
                                             Ben Franklin Station
                                             P.O. Box 14403
                                             Washington, D.C. 20044-4403
                                             (202) 514-4757
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                   IN THE UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT


                                        No. 13-4544

                                    DA YID RA WDIN,

                                                  Plaintiff-Appellant

                                             V.


                        AMERICAN BOARD OF PEDIATRICS,

                                                  Defendant-Appellee


           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


              BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                        SUPPORTING NEITHER PARTY


                        INTEREST OF THE UNITED STATES

         The United States has responsibility for the enforcement of Title III of the

   Americans with Disabilities Act of 1990, 42 U.S.C. 12101 et seq. See 42 U.S.C.

   12188(b). Pursuant to 42 U.S .C. 12186(b), the Department of Justice has issued

   regulations to carry out the provisions of Title III. This case presents the issue of

   the proper interpretation of Section 309 of Title III, and its implementing

   regulation, 28 C.F.R. 36.309(b)(l)(i). Section 309 requires that licensing

   examinations be offered in a manner "accessible to persons with disabilities." 42
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   U .S.C. 12189. The regulation requires that such examinations be administered so

   as to "best ensure" that the exam results reflect the applicant's aptitude or

   achievement level and not the manifestations of the individual's disability.

   Because this case concerns the proper interpretation of our regulation, the United

   States has a significant interest in participating as an amicus. The United States

   previously filed an amicus brief addressing the "best ensure" standard in Jones v.

   National Conference ofBar Examiners, 476 F. App'x 957 (2d Cir. 2012), arguing

   that the "best ensure" standard, rather than the generalized "reasonable

   accommodation" standard, applies in the testing context.

                             STATEMENT OF THE ISSUE

         The United States will address the following issue:

         Whether testing accommodation claims under Section 309 of the Americans

   with Disabilities Act (ADA), 42 U.S.C. 12189, should be analyzed under the "best

   ensure" standard of Section 309's implementing regulation, which requires testing

   entities to offer examinations in a manner accessible to persons with disabilities so

   as to "best ensure" that "the examination results accurately reflect the

   individual[s'] aptitude or achievement level[s]," rather than the limitations of their

   disabilities, 28 C.F.R. 36.309(b)(l)(i).
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                             STATEMENT OF THE CASE

   1.    Background

         a. Plaintiff-appellant Dr. David Rawdin is a licensed pediatrician. In 1987,

   while in college, Dr. Rawdin was diagnosed with a brain tumor. See Joint

   Appendix (JA) 303 (7/29/13 Trial Tr.). He underwent brain surgery to remove the

   tumor, followed by chemotherapy and radiation therapy. JA 303-305. Although

   he subsequently started experiencing difficulty taking multiple choice

   examinations, he graduated from college and then medical school in 1994. JA

   304-306.

         To obtain his medical license, Dr. Rawdin had to pass the United States

   Medical Licensing Examination (USMLE), which consists of three steps. JA 306.

   Each step includes multiple choice questions. JA 306-307. He passed the first two

   steps while in medical school. JA 306. Dr. Rawdin took the Step 3 exam after

   graduating from medical school, and failed it twice. JA 306. After his second

   failure in 1996, Dr. Rawdin was evaluated by a neuropsychologist, Dr. Laura Slap-

   Shelton. JA 307. She concluded that, as a result of his tumor and treatment, Dr.

   Rawdin sustained a cognitive impairment that significantly impaired his memory

   retrieval system - in particular, his verbal retrieval function and visual memory

   system. JA 68 (5/2/2011 Letter from Dr. Slap-Shelton to ABP). She found,
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   however, that his memory impairment affected only his ability to answer multiple

   choice questions, and not his clinical ability to practice medicine. JA 68.

         At about this time, Dr. Rawdin' s brain tumor recurred, again requiring

   surgery and treatment. JA 308. Due to complications, Dr. Rawdin left his surgical

   residency for four years. JA 309-310. When he returned in 2000, he changed his

   residency from surgery to pediatrics. JA 310. He also applied to take the Step 3

   exam again in 1999, and requested and received testing accommodations for the

   first time. JA 313. He was given double time to take the exam, an individual

   testing room, and breaks during the exam. JA 59 (11/29/ 1999 Confirmation of

   Test Accommodations), 313-314. Dr. Rawdin passed the exam and earned his

   medical license in 2000. JA 49 (Complaint), 313.

         Thereafter, Dr. Rawdin completed his residency and, in 2003, started his

   clinical practice at the Children's Hospital of Philadelphia (CHOP) . JA 314-315.

   Dr. Rawdin had an exemplary performance record at CHOP, serving in many

   capacities, including Assistant Director of CHOP 's nursery and as a clinical

   professor at the hospital. JA 315-321 ; see also JA 295-297 .

         b. CHOP's by-laws require physicians employed by the hospital to be board

   certified in their specialties within five years of employment. JA 298-299. Dr.

   Rawdin satisfied all the requirements for board certification for pediatrics, except

   for passing a multiple choice exam known as the General Pediatrics Certifying
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   Exam (the Exam). JA 412-413. The Exam, given annually, consists of335

   multiple choice questions that provide hypothetical scenarios and ask the

   individual to select the most likely diagnosis, treatment, or next step. JA 372-373,

   420.

          The Exam is designed, administered and scored by defendant-appellee

   American Board of Pediatrics (ABP), an independent, non-profit organization that

   is one of the 24 certifying boards of the American Board of Medical Specialists.

   JA 100 (Memorandum of Law in Opp'n to Pl. ' s Mot. for Preliminary and

   Permanent Injunction), 408 , 417. Board certification is a credential that signifies a

   high level of physician competence. JA 408 , 418-419. Hospitals and private

   practices often require board certification when hiring pediatricians. JA 325-330.

   Although board certification is not required in order to practice, only about 15-20%

   of pediatricians nationwide are not board certified. JA 41 7-418.

          Dr. Rawdin took and failed the Exam in 2004, 2006, 2008, and 2009. JA

   321, 324. Because he was unable to obtain board certification, CHOP terminated

   Dr. Rawdin's employment in January 2010. JA 298, 318, 325.

          c. In October 2007, after Dr. Rawdin failed the Exam for the second time,

   he was reevaluated by Dr. Slap-Shelton, who gave Dr. Rawdin a series of

   neuropsychological tests, including an intelligence test. JA 323 . The results

   revealed a 21-point difference between Dr. Rawdin' s verbal IQ and performance
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    IQ. JA 622 (2007 Report of Neuropsychological Evaluation). Although Dr.

    Rawdin's scores were not below average, Dr. Slap-Shelton concluded that the

    21-point difference showed that Dr. Rawdin' s ability to retrieve information from

    his memory after seeing or reading it was impaired. JA 627-628 . Furthermore, the

   results of every memory test taken by Dr. Rawdin showed that Dr. Rawdin's

   memory was not efficient, especially when he was asked to retrieve information

    out of context. JA 627-628.

          Dr. Rawdin consulted with a second neuropsychologist, Dr. Edward Moss,

    in July 2008. JA 323-324. Dr. Moss reviewed the results of the neurological tests

   performed by Dr. Slap-Shelton, and concluded that Dr. Rawdin has a declarative

   memory impairment directly related to his brain tumor and treatment. JA 606

   (2/25/13 Moss Report); see also JA 487-488 (Moss Dep.). Dr. Moss agreed with

   Dr. Slap-Shelton that Dr. Rawdin 's verbal and visual memory was impaired when

   compared to his IQ, and his memory was not efficient, particularly when retrieving

   information out of context. JA 606; see also JA 492-497.

          In September 2010, Dr. Rawdin wrote to ABP regarding his difficulties with

   passing the Exam and requested an alternative certification method. JA 144-145.

   ABP responded that it could not waive the Exam requirement but suggested that

   Dr. Rawdin request a testing accommodation. JA 148.
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          In 2011, Dr. Rawdin applied to take the Exam again and requested testing

    accommodations recommended by neuropsychologist Dr. Slap-Shelton. JA 61-69,

    338. Attached to his request was a letter from Dr. Slap-Shelton, discussing Dr.

    Rawdin ' s memory retrieval impairment and requesting the following testing

    accommodations: (1) extended time; (2) a quiet setting; (3) advance knowledge of

    the material covered on the Exam; (4) access to reference material during the

    exam; (5) short breaks every half hour; and (6) an essay format instead of multiple

    choice for the Exam. JA 68-69.

          ABP granted Dr. Rawdin's accommodation request for extended time, a

    quiet setting, and frequent breaks, but denied the rest. JA 71 (6/9/11 Letter from

    ABP to Dr. Rawdin) . ABP stated at trial that it simply gave Dr. Rawdin the same

    testing accommodations that he got when he took the Step 3 examination in 1999.

    JA 422-423 . According to ABP, allowing Dr. Rawdin access to the exam

    questions beforehand or to reference materials during the Exam would not allow

    ABP to adequately, reliably, and validly test Dr. Rawdin's knowledge. JA 388,

    405. ABP also stated that changing the format of the Exam would take a

    significant amount of time and be prohibitively expensive, and a different format

    would not meet the reliability and validity standards required by other national

    accrediting boards. JA 399-401, 405 . Dr. Rawdin failed the Exam for the fifth

    time in 2011. JA 343 , 347.
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    2.    Procedural History

          In 2012, Dr. Rawdin filed this action against ABP, alleging that ABP

    violated Section 309 of the ADA, 42 U.S.C. 12189, and its implementing

    regulation, 28 C.F.R. 36.309, by failing to administer the Exam in a way that

    makes the Exam accessible to individuals with disabilities and best ensures that the

    results of the Exam measure plaintiffs knowledge, rather than reflect the

    limitations of his disability. JA 53 (Complaint). Dr. Rawdin filed a motion for a

   preliminary and permanent injunction, asking the court to order ABP to grant him

   board certification without requiring him to pass the Exam or, alternatively, to

    order ABP to provide a testing accommodation in the form of an alternate exam

   format, such as an open-book examination, essay examination, or an evaluation in

   a clinical setting. See Rawdin v. American Bd. of Pediatrics, No. 12-6781 , 2013

   WL 5948074, at *9 (E.D. Pa. Nov. 6, 2013).

          The district court conducted a hearing on Dr. Rawdin's preliminary

   injunction motion on July 29, 2013, at which both parties represented that they had

   presented all the evidence they intended to produce. See Rawdin, 2013 WL

   5948074, at *6. Thereafter, with the parties' consent, the district court converted

   the hearing into a trial on the merits . Id. at *6.

          On November 6, 2013, the district court denied Dr. Rawdin's request for

   injunctive relief. See Rawdin, 2013 WL 5948074, at *20. The court first held that
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   Dr. Rawdin is not a person with a disability covered by the ADA, because, the

   court found, his memory loss does not substantially limit the major life activities

   Dr. Rawdin identified - test-taking and working. Id. at * 14-15. The court found

   that his brain injury does not reduce his abilities below that of an average person,

   and so he is not "substantially limited" in a major life function. Ibid. In other

   words, the court held that Dr. Rawdin's memory loss was significant only when

   compared to his own intellectual abilities. The court further held that his memory

   loss does not affect his ability to take a multiple choice examination in the nature

   of the test administered by ABP, and that he is not substantially impaired in the

   major life function of "working." Ibid.

         The court also held that even if Dr. Rawdin has a disability for purposes of

   the ADA, the changes to the Exam he requested are not reasonable

   accommodations. See Rawdin, 2013 WL 5948074, at *17-18 . The court stated

   that the testing accommodations he requested - allowing him to refer to reference

   sources during the exam, changing the format of the Exam to an essay test, or

   evaluating his clinical abilities in lieu of a multiple choice exam - amount to a

   fundamental alteration of the test. Ibid. The court agreed with ABP 's argument

   that the type of test Dr. Rawdin requested would not accurately test what the

   multiple choice test does - the test-taker's ability to retain and apply principles of

   pediatric medicine. Ibid. ABP argued that it was testing his knowledge, and that
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    the alterations he proposed would not test those abilities as well as the current test

    does. Ibid. The court found that the ABP had established that altering the test, or

    letting Dr. Rawdin take an open-book test, would actually lower the standard for

    certification. Id. at * 16-17.

           In addition, the court credited ABP 's argument that the closed book nature

    of the examination measures the knowledge of the test-taker "without access to

    reference material," while an open book test measures research ability, but not the

    amount of knowledge the test-taker has and can prove. See Rawdin, 2013 WL

    5948074, at* 19. The court held that it owed some deference to the pedagogical

    expertise of the organization. Id. at *17-18. The court also held that ABP

    established that devising a new test would be an undue burden based on the cost of

    developing a new examination in a different format, or even just developing new

    questions. Id. at * 19. Finally, the court noted that ABP already had provided some

    accommodations, such as extra time, a different classroom atmosphere, and breaks

    during the test-taking. Id. at *18-19.

                            SUMMARY OF THE ARGUMENT

          Testing accommodation claims under Section 309 of the ADA, 42 U.S .C.

    12189, should be analyzed under the "best ensure" standard of Section 309's

   implementing regulation, 28 C.F.R. 36.309(b)(l)(i), rather than under the more

   lenient "reasonableness" standard found in some other provisions of the ADA.
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          The district court appears to have conflated the "best ensure" and

    "reasonableness" standards in analyzing Dr. Rawdin's testing accommodation

    claim. The court acknowledged that Section 309 specifically addresses

    professional examinations, and provides that they must be offered in a manner that

    is "accessible to persons with disabilities." See Rawdin v. American Bd. of

   Pediatrics, No. 12-6781 , 2013 WL 5948074, at *16 (E.D. Pa. Nov. 6, 2013). In

    discussing the testing accommodation requirements, the court also cited the "best

    ensure" standard mandated by Section 309's implementing regulation. See id. at

    * 16-17. The district court mentioned these standards only in passing, however,

   and gave no indication that it was actually applying them. Instead, the court then

   proceeded to evaluate the testing accommodations that Dr. Rawdin requested under

   a "reasonableness" standard that is found in other provisions of the ADA, but does

   not apply to examinations subject to Section 309 and that statute's implementing

   regulations. See id. at* 16-18.

          Section 309 does not use the term "reasonable," and the Department of

   Justice's implementing regulation also does not contain a reasonableness standard.

   Instead, the regulation explicitly states that the examination must be administered

   so as to "best ensure" that the exam measures the applicant's achievement or

   aptitude, rather than reflects the limitations of the individual's disability. 28 C.F.R.

   36.309(b)(l)(i). Because the regulation is a reasonable construction of the statute
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   and therefore is entitled to deference under Chevron, US.A. , Inc. v. Natural

   Resources Defense Council, Inc. , 467 U.S. 837 (1984), it follows that the "best

   ensure" standard in the regulation is an authoritative interpretation of the statute

   and applies in this case. The more generalized "reasonableness" standard, used in

   other provisions of Title III and the ADA, does not override the more specific and
                                                                                     1
   demanding regulation directed at disability-based discrimination in testing.

                                          ARGUMENT

          THE DISTRICT COURT APPEARS TO HAVE APPLIED AN
        INCORRECT STANDARD FOR DETERMINING WHETHER ABP
             OFFERS THE EXAM IN A MANNER ACCESSIBLE
                 TO INDIVIDUALS WITH DISABILITIES

   A.       Standard Of Review

            This Court reviews the district court' s findings of fact for clear error and its

   conclusions oflaw de novo. See NAACP v. City ofBayonne, 134 F.3d 113 (3d Cir.

   1998).

   B.       Statutory And Regulatory Requirements

            Title III of the ADA prohibits discrimination against individuals with

   disabilities by public accommodations, i.e., private entities offering various

   services to the public. It does so in several distinct anti-discrimination provisions.

   Section 302(a) contains a general prohibition on discrimination. 42 U.S.C.

            1
                This brief does not address other issues in the case.
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    12182(a). Section 302(b) contains numerous more specific provisions addressing

    various activities and actions that constitute disability discrimination. 42 U.S.C.

    12182(b). Among these is the failure to make "reasonable modifications" in

    policies, practices, or procedures when such modifications are necessary to afford

    services to individuals with disabilities unless the entity can demonstrate that the

    modifications would fundamentally alter the nature of the services. 42 U.S.C.

    l 2 l 82(b )(2)(A)(ii).

           A separate section of Title III addresses the provision of professional and

    licensing examinations. Section 309 provides:

           Any person that offers examinations or courses related to applications,
           licensing, certification, or credentialing for secondary or post-
           secondary education, professional, or trade purposes shall offer such
           examinations or courses in a place and manner accessible to persons
           with disabilities or offer alternative accessible arrangements for such
           individuals.

   42 U.S.C. 12189 (emphasis added). The term "accessible" is not defined in the

   statute.

           The Attorney General is charged with issuing regulations to carry out the

   provisions of Title III, including Section 309. 42 U.S.C. 12186(b). Pursuant to

   that statutory authority, the Department promulgated 28 C.F.R. 36.309, which

   addresses "[e]xaminations and courses." Section 36.309(b)(l)(i) defines the

   obligations of testing entities offering examinations:
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         Any private entity offering an examination covered by this section
         must assure that * * * [t ]he examination is selected and administered
         so as to best ensure that, when the examination is administered to an
         individual with a disability that impairs sensory, manual, or speaking
         skills, the examination results accurately reflect the individual's
         aptitude or achievement level or whatever other factor the
         examination purports to measure, rather than reflecting the
         individual's impaired sensory, manual, or speaking skills (except
         where those skills are the factors that the examination purports to
         measure).

   28 C.F .R. 36.309(b )(1 )(i) (emphasis added).

   C.    The "Best Ensure " Standard Applies To Testing Accommodations Claims

         The district court appears to have conflated the "best ensure" standard with

   the "reasonableness" standard under 42 U.S.C. 12182. See Rawdin v. American

   Bd. of Pediatrics, No. 12-6781, 2013 WL 5948074, at *10, *16-17 (E.D. Pa. Nov.

   6, 2013). This was error because (1) the term "accessible" in Section 309 is

   ambiguous; (2) the "best ensure" standard in the implementing regulation is a

   reasonable construction of the statute and is entitled to Chevron deference; (3) the

   specific "best ensure" standard directed at examinations applies over the more

   generalized "reasonableness" standard contained elsewhere in the ADA; (4)

   applying a reasonableness standard to testing would read out of the ADA

   numerous provisions more narrowly tailored to disability discrimination in specific

   contexts, including testing; and ( 5) the "best ensure" requirement is a more

   stringent standard than "reasonableness."
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         1. This Court has held that Section 309 of the ADA and DOJ' s

   implementing regulation, rather than 42 U.S.C. 12182's more general prohibitions

   against discrimination in public accommodations, apply to professional

   examinations. See Doe v. National Bd. of Med. Exam 'rs, 199 F.3d 146, 154-155

   (3d Cir. 1999). Together, Section 309 and the implementing regulation provide

   that such examinations must be offered in an accessible manner, which means that

   they must be offered in such a way as to "best ensure" that the examination results

   reflect the applicant's aptitude and knowledge, rather than the limitations or

   manifestations of the applicant's disability. As this Court stated, Section 309

   "mandates changes to examinations - 'alternative accessible arrangements,' 42

   U.S .C. 12189 - so that disabled p eople who are disadvantaged by certain f eatures

   of standardized examinations may take the examinations without those f eatures

   that disadvantage them." Doe, 199 F.3d at 156 (emphasis added) . That is the

   standard that applies in the context of professional examinations .

         Here, the term "accessible" in Section 309 could have various meanings,

   including "accessible at any cost," the "best access available under the

   circumstances," or "capable of being accessed" even if the access is not effective

   or meaningful. The term itself does not suggest what "accessibility" should mean

   in specific circumstances. Nothing about the term "accessible" compels the district

   court's conclusion (and ABP ' s assertion) that a testing entity must simply provide
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   what the testing entity considers a "reasonable" accommodation. See Rawdin ,

   2013 WL 5948074, at *16-17. Because the term is ambiguous, the Department's

   construction of that term in its regulation is entitled to controlling weight, unless it

   is arbitrary, capricious, or manifestly contrary to the statute. See Chase Bank USA,

   N .A. v. McCoy, 131 S. Ct. 871 , 880 (2011) (stating a court must defer to the

   Department's reading of its own regulation "unless that interpretation is 'plainly

   erroneous or inconsistent with the regulation"' (quoting Auer v. Robbins, 519 U.S.

   452, 461 (1997)).

         The DOJ regulation - and its "best ensure" standard - is a reasonable

   construction of the statute and therefore is entitled to Chevron deference and

   controlling weight. Indeed, this Court' s interpretation of Section 309 is consistent

   with the regulation, stating that Section 309 "mandates changes to examinations -

   ' alternative accessible arrangements,' * * * - so that disabled people who are

   disadvantaged by certain features of standardized examinations may take the

   examinations without those features that disadvantage them." Doe, 199 F.3d at

   156. Similarly, as the Ninth Circuit stated in a nearly identical case, "[o]ne

   reasonable reading of [Section 309 ' s] requirement that entities make licensing

   exams ' accessible ' is that such entities must provide disabled people with an equal

   opportunity to demonstrate their knowledge or abilities to the same degree as
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    nondisabled people taking the exam." Enyart v. National Conf of Bar Exam 'rs,

    630 F.3d 1153, 1162 (9th Cir.), cert. denied, 132 S. Ct. 366 (2011).

          Moreover, DOJ's regulation implementing Section 309 was adopted from,

    and applies the same standard contained in, regulations under the Rehabilitation

    Act (predating the ADA) that address testing in other contexts and contain a "best

    ensure" standard. See 34 C.F.R. 104.42(b)(3) (1980) (Department of Education

    regulation under Section 504 of the Rehabilitation Act applying to college

    admission tests and providing that they must be "selected and administered so as

   best to ensure that* * * the test results accurately reflect the applicant' s aptitude or

    achievement level* * * rather than* * * the applicant' s [disability]"); 45 C.F.R.

    84.44(c) (1977) (Health and Human Services regulation addressing postsecondary

   school examinations at federally funded schools applying similar "best ensure"

   standard). The ADA must be interpreted to grant at least as much protection as

   provided by the Rehabilitation Act. See 42 U.S.C. 1220l(a); 28 C.F.R. Pt. 35 ,

   App. B, Subpart C.

          The DOJ regulation also reflects the special challenges to the establishment

   of a level playing field in the administration of professional examinations. In this

   regard, it is reasonable that a heightened standard applies in the context of such

   high-stakes testing because, for many kinds of tests, how well a person performs

   on a test may become an arbitrary barrier to a job the individual could perform
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    well. Once an individual passes an examination, his or her performance may be

    acceptable over a wider range of satisfactory performance levels and, if deficient,

    may be subject to remediation or training over time. Therefore, it is critical that a

    test-taker' s disability detrimentally affect his score to the least extent possible.

          For these reasons, the regulation' s "best ensure" standard is a reasonable

    construction of Section 309 and, as such, is the authoritative interpretation of that

   statute. See generally Bragdon v. Abbott, 524 U.S. 624, 646 (1998) ("As the

   agency directed by Congress to issue implementing regulations * * * and to

   enforce Title III in court, * * * the Department's views [in its regulations] are

    entitled to deference. ") (citing Chevron , 467 U.S. at 844).

          Other courts that have addressed this issue on similar facts reached the same

   conclusion. See Enyart, 630 F.3d at 1162-1163 (rejecting argument by the

   National Conference of Bar Examiners (NCBE) that 28 C.F.R. 36.309(b)(l)(i) was

   invalid because it imposed an obligation beyond the statute, stating "DOJ's

   regulation is not based upon an impermissible construction of [Section 309] , so this

   court affords Chevron deference to 28 C.F.R. 36.309 and applies the regulation' s

    ' best ensure' standard"); see also Bonnette v. District of Columbia Ct. ofAppeals,

   796 F. Supp. 2d 164, 181 (D.D.C . 2011) (rejecting NCBE ' s argument that the "best

   ensure" requirement in the regulation "exceeds the clear limits of the ADA and is

   not entitled to deference," concluding that the statutory requirement "is sufficiently
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   ambiguous that the Court must respect the Justice Department' s interpretive

   regulations"). See also Americans with Disabilities Act, ADA Title III Technical

   Assistance Manual, III-4.6100 (1993), available at www.ada.gov/taman3.html

   (addressing examinations).

         2. There is no basis not to apply the "best ensure" standard to professional

   examinations covered by Section 309. Despite the district court' s reference to

   Section 309 and the implementing regulation, it nonetheless evaluated Dr.

   Rawdin 's requested testing accommodation under a "reasonableness" standard.

   See Rawdin , 2013 WL 5948074, at *16-17. But as set forth above, Section 309

   and the implementing regulation do not apply that lesser standard, which is used in

   other provisions of Title III and the ADA, but require the application of the more

   stringent "best ensure" standard. The more generalized and more lenient

   reasonableness standard contained elsewhere in the ADA does not override the

   more specific regulatory guidance directed at testing under Section 309. See Doe,

   199 F.3d at 155 (stating that under the "specific governs the general" canon of

   statutory construction, the more specific Section 309, rather than Section 302,

   applies in the context of examinations).

         The district court's analysis is incorrect and essentially reads out of the ADA

   numerous provisions carefully directed to address disability discrimination in

   specific contexts, including examinations. Title I, which generally addresses
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   employment discrimination, contains seven different definitions of covered

   "discrimination." See 42 U.S.C. 12112(b)(5); see generally 42 U.S.C.

   12112(b)(l)-(7). Only one of these provisions expressly addresses employment

   tests, and requires that such tests be administered "in the most effective manner to

   ensure" that, for applicants with a sensory disability, the test accurately reflects the

   skills or aptitude the test purports to measure, rather than reflecting the limitations

   of the individual's disability. 42 U.S.C. 12112(b)(7); see also 29 C.F.R. 1630.11

   (EEOC Title I regulation using similar language). The language in this provision

   is nearly identical to the "best ensure" standard in the Title III regulation

   implementing Section 309, and similarly contemplates a standard more stringent

   than "reasonable accommodation," when applied in the examinations context.

         Furthermore, as noted above, Title III contains numerous provisions

   addressing various forms of discrimination, such as imposing eligibility criteria

   that screen out or tend to screen out an individual with a disability from fully and

   equally enjoying, inter alia, public goods or services, and failing to make a

   "reasonable modification" in policies, practices, or procedures when such

   modifications are necessary to provide, inter alia, services and accommodations to

   an individual with a disability, unless making the modification would result in a

   fundamental alteration. See generally 42 U.S.C. 12182(b)(2)(A)(i)-(v). But Title

   III also contains Section 309, which specifically addresses examinations and does
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    not use the term "reasonable." Section 309's implementing regulation applies the

    "best ensure" standard and also does not use the term "reasonable" as a standard

    for the necessary testing modifications and alterations.

          Therefore, the ADA does not apply a "reasonableness" standard in the

    testing context, and there is no basis for a court, as the district court appears to

    have done here, to apply the "reasonableness" standard to Dr. Rawdin' s request for

    modifications. See Doe, 199 F.3d at 155 (stating "the rationale of the 'specific

    governs the general' canon counsels that we treat [S]ection 309 as Congress's

    specific definition of what Title III requires in the context of examinations");

    Bonnette, 796 F. Supp. 2d at 182 (stating generalized "reasonable modification"

    standard does not override the more specific regulatory guidance relating to the

    testing context). The standard that the ADA applies in the context of examinations

    is the "best ensure" standard.

          3. The distinction between the "best ensure" requirement and

    "reasonableness" standard is material. Section 309 and 28 C.F .R. 36.309 require

    testing entities to do more than simply provide reasonable accommodations. An

    accommodation offered by a testing entity can be "reasonable," even though it

    does not "best ensure" that the exam results reflect an individual's ability rather

    than disability. The ordinary meaning of "reasonableness" suggests that an

    accommodation can be reasonable even if it is not the best alternative.
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           Furthermore, Section 309 and its implementing regulation shift the burden

    away from the plaintiff, requiring him to identify and request reasonable

    accommodations, and onto the testing entity to develop and administer the

    examination in a way that will best ensure the results accurately reflect that

    individual ' s aptitude or achievement level, rather than disability. If the plaintiff

   can show that the results of the examination reflect his disability, rather than his

   skill or knowledge, the "best ensure" standard requires the testing entity to

   determine whether there is a testing alternative that, while still testing the same

   factors or knowledge the test is designed to measure, permits the person with a

   disability the opportunity to demonstrate the abilities measured by the test, as

   opposed to a test that reflects the manifestations of his disability. Although the

   district court recognized that ABP has the burden to "show it has considered

   alternative means to an allegedly discriminatory test," the court inappropriately

   relied on non-testing cases applying a reasonableness standard, in concluding that

   Rawdin' s requested accommodations were "not reasonable." Rawdin , 2013 WL

   5948074, at *17.

          To the extent that ABP argues that equal access to an examination does not

   mean equal outcomes (JA 410), a plaintiff is not entitled to his requested testing

   accommodation simply because it is the accommodation he prefers. Similarly, a

   plaintiff is not necessarily entitled to an examination format that will ensure his
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   success or maximize his score. But the regulation requires that the examination be

   administered in a manner that best ensures that the examination results "accurately

   reflect the individual 's aptitude or achievement level," 28 C.F.R. 36.309(b)(l)(i),

   and that is what a plaintiff is entitled to.

                                       CONCLUSION

          If the Court reaches Dr. Rawdin 's claim under Section 309, the Court should

   hold that the "best ensure" standard applies to testing accommodation claims.


                                                       Respectfully submitted,

                                                       JOCELYN SAMUELS
                                                        Acting Assistant Attorney General

                                                       s/ Teresa Kwong
                                                       MARK L. GROSS
                                                       TERESA KWONG
                                                        Attorneys
                                                        U.S. Department of Justice
                                                        Civil Rights Division
                                                        Appellate Section
                                                        Ben Franklin Station
                                                        P.O. Box 14403
                                                        Washington, D.C. 20044-4403
                                                         (202) 514-4757
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                      CERTIFICATE OF BAR MEMBERSHIP

         Pursuant to Local Rule 28.3(d), I hereby certify that I am a member of good

   standing of the bar of this Court.


                                               s/ Teresa Kwong
                                               TERESA KWONG
                                                Attorney

   Date: March 17, 2014
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                                                  TERESA KWONG
                                                   Attorney
